Case 1:21-cr-00175-TJK Document 809-1 Filed 05/31/23 Page 1of1

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

United States of America,

v. Criminal Action No. 21-00175 (TJK)

Ethan Nordean, et al., Honorable Timothy J. Kelly

Defendants.

ORDER ON APPLICATION FOR ACCESS TO TRIAL EXHIBITS

In consideration of the May 23, 2023 Application for Access to Trial Exhibits filed in this
matter by applicants Conrad Smith, Danny McElroy, Byron Evans, Governor Latson, Melissa
Marshall, Michael Fortune, Jason DeRoche, and Reginald Cleveland (“Applicants”), and finding
good cause for the relief sought therein, this Court hereby GRANTS the Application and
ORDERS that the Government allow Applicants, through their counsel, to access and download
all admitted exhibits from both trials in the above-captioned matter, including downloadable
documentary, photographic, and videographic exhibits, via the electronic “drop box” solution
outlined in Standing Order No. 21-28, which governs public access to video exhibits in criminal
cases arising from the January 6, 2021 attack on the Capitol.

SO ORDERED.

UNITED STATES DISTRICT JUDGE
